Case 8:05-cr-00394-RAL-TGW Document 157 Filed 02/06/06 Page 1 of 6 PageID 269
Case 8:05-cr-00394-RAL-TGW Document 157 Filed 02/06/06 Page 2 of 6 PageID 270
Case 8:05-cr-00394-RAL-TGW Document 157 Filed 02/06/06 Page 3 of 6 PageID 271
Case 8:05-cr-00394-RAL-TGW Document 157 Filed 02/06/06 Page 4 of 6 PageID 272
Case 8:05-cr-00394-RAL-TGW Document 157 Filed 02/06/06 Page 5 of 6 PageID 273
Case 8:05-cr-00394-RAL-TGW Document 157 Filed 02/06/06 Page 6 of 6 PageID 274
